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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           3-03-CR-434-D
                                               )           (3-05-CV-952-D)
KATHY CHEWNING                                 )


                                           ORDER

       After making the review required by 28 U.S.C. § 636(b), the Court finds that the Findings,

Conclusions, and Recommendation of the Magistrate Judge are correct, and they are adopted as the

findings and conclusions of the Court.

       Signed August 23, 2005.



                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            UNITED STATES DISTRICT JUDGE
